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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 2:14-cr-79-FtM-38DNF

AMBER PALFALVI


                                        ORDER

      This matter comes before the Court on Amended Motion to Allow Defendant to

Retain Expert Witness (Doc. #95) filed on February 20, 2015. Counsel moves the Court

for an order granting expert witness fees for the purpose of securing expert testimony

during the sentencing hearing scheduled for April 6, 20151. Counsel indicates an expert

in synthetic chemistry is necessary to assist counsel and the Court in understanding the

complexities and comparison between ethylone, methylone and MDMA and other

substances. Counsel has secured Gregory B. Dudley, Ph.D., Associate Professor and

Associate Chair, Department of Chemistry and Biochemistry at Florida State University.

Dr. Dudley is available to testify at Defendant’s hearing and estimates his costs for off-

site consulting, on-site consulting, testimony, travel and incidental expenses to total

$9025.002.




1As the Defendant has been found to be indigent, Defense Counsel was appointed to
represent the Defendant pursuant to the Criminal Justice Act.
2Counsel provided the Court with a written estimate which reflects off-site consulting
fees of of $250.00/hour for 8 hours to equal $2000.00, on-site consulting fees of
$2500.00 per day to equal $5000.00, and travel/incidental fees of $2025.00, all totaling
$9025.00.
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       Upon review, pursuant to 18 U.S.C. § 3006(A)(e)(3), the Court will grant the Motion

up to the maximum amount1 of $2,400, and the rest will be paid contingent upon and

pending authorization from the Eleventh Circuit Court of Appeals 3.         Upon receiving

confirmation of approval from the Court, counsel shall forward a completed CJA 21 form

to the CJA Deputy Clerk in the Orlando Division with a copy of the Memorandum

confirming authorization.

       Accordingly, it is now

       ORDERED:

       The Amended Motion to Allow Defendant to Retain Expert Fees (Doc. 95) is

GRANTED pending authorization from the Eleventh Circuit Court of Appeals.

       DONE AND ORDERED at Fort Myers, Florida, this February 23, 2015.




Copies: Counsel of Record




3Pursuant to Guide to Judicial Policy, Vol. 7A, § 310.20.10(a)-(e), with prior authorization,
compensation for investigative, expert, and other services is limited to $2,400.00.
§310.20.20 provides that payment in excess of the $2,400.00 may be made when certified
by the District Court and approved by the Chief Judge of the Circuit.



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